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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION                                                              ENTERED
                                                                                                                    08/04/2020
                                                         §
In re:                                                   §        Chapter 11
                                                         §
FIELDWOOD ENERGY LLC, et al.,                            §        Case No. 20-33948 (MI)
                                                         §
                    Debtors. 1                           §        (Jointly Administered)
                                                         §

        INTERIM ORDER ESTABLISHING NOTIFICATION PROCEDURES AND
     APPROVING RESTRICTIONS ON (A) CERTAIN TRANSFERS OF INTERESTS IN
         THE DEBTORS AND (B) CLAIMS OF CERTAIN WORTHLESS STOCK
                               DEDUCTIONS

                    Upon the motion, dated August 4, 2020 (the “Motion”)2 of Fieldwood Energy LLC

and its affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in

possession (collectively, the “Debtors”), pursuant to sections 105(a) and 362 of the Bankruptcy

Code, for entry of interim and final orders establishing procedures to protect the potential value of

the Debtors’ consolidated net operating loss carryforwards (the “NOLs”) and other tax benefits

(collectively, the “Tax Attributes”), for use in connection with the reorganization of the Debtors,

all as more fully set forth in the Motion and the relief requested therein pursuant to 28 U.S.C.

§§ 157(a)–(b) and 1334(b); and upon consideration of the Dane Declaration; and this Court having

jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §1334;

and consideration of the Motion and the requested relief being a core proceeding pursuant to 28




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
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U.S.C. § 157(b); and it appearing that venue is proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and due and proper notice of the Motion having been provided; and such notice

having been adequate and appropriate under the circumstances, and it appearing that no other or

further notice need be provided; and this Court having reviewed the Motion; and this Court having

held a hearing to consider the relief requested in the Motion; and all objections, if any, to the

Motion have been withdrawn, resolved, or overruled; and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and

it appearing that the relief requested in the Motion is necessary to avoid immediate and irreparable

harm to the Debtors and their estates as contemplated by Bankruptcy Rule 6003, and is in the best

interests of the Debtors and their respective estates and creditors, and all parties in interest; and

upon all of the proceedings had before this Court and after due deliberation and sufficient cause

appearing therefor,

               IT IS HEREBY ORDERED THAT

               1.      The provisions of this interim order (the “Interim Order”) shall be

effective nunc pro tunc to the Petition Date.

               2.      The restrictions, notification requirements, and other procedures annexed

hereto as Exhibit 1 (the “Procedures”) are hereby approved and shall apply to all trading and

transfers of, and worthless stock deduction claims by a Majority Stockholder (as defined therein)

with respect to, the beneficial ownership of Common Stock (including directly and indirectly, and

including Options to acquire beneficial ownership of Common Stock); provided, that, the Debtors

may, in their sole discretion, waive in writing, any and all restrictions, stays, and notification

procedures set forth in the Procedures. Any party in interest may request emergency relief from

the Procedures.




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               3.      Until further order of this Court to the contrary, any acquisition, disposition,

or trading of, or worthless stock deduction claim by a Majority Stockholder with respect to, the

beneficial ownership of Common Stock (including directly and indirectly, and including Options

to acquire beneficial ownership of Common Stock) in violation of the Procedures shall be null and

void ab initio as an act in violation of the automatic stay under section 362 of the Bankruptcy Code

and pursuant to this Court’s equitable powers under section 105(a) of the Bankruptcy Code.

               4.      Any person or Entity that acquires, disposes of, or trades the beneficial

ownership of Common Stock (including directly and indirectly, and including Options to acquire

beneficial ownership of Common Stock) in violation of this Interim Order or the Procedures or

that otherwise fails to comply with their requirements, including with respect to claiming a

worthless stock deduction, shall be subject to such sanctions as this Court may consider appropriate

pursuant to this Court’s equitable power under section 105(a) of the Bankruptcy Code.

               5.      The notices substantially in the forms annexed hereto as Exhibit 2, Exhibit

3, Exhibit 4, Exhibit 5 and Exhibit 6 are hereby approved.

               6.      Within three (3) business days of the entry of this Interim Order, the Debtors

shall send the notice of this Interim Order (the “Notice of Interim Order”) annexed hereto as

Exhibit 7 to (i) all parties that were served with notice of the Motion and (ii) the registered and

nominee holders of Common Stock (with instructions to serve down to the beneficial holders of

Common Stock, as applicable), publish the Notice of Interim Order once in the national edition of

The New York Times and the Houston Chronicle, and post the Procedures to the website established

by Prime Clerk LLC for these chapter 11 cases (which website address shall be identified in the

Notice of Interim Order), such notice being reasonably calculated to provide notice to all parties




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that may be affected by the Procedures, whether known or unknown, and no further notice of the

Procedures shall be necessary.

               7.      Nothing herein shall preclude any person or Entity desirous of acquiring or

transferring any beneficial ownership in, or making worthless stock deduction claims with respect

to its beneficial ownership of, Common Stock (including directly or indirectly, and including

Options to acquire beneficial ownership of Common Stock) from requesting relief from this

Interim Order from this Court, subject to the Debtors’ rights to oppose such relief.

               8.      Notice of the Motion as provided therein shall be deemed good and

sufficient notice of the Motion.

               9.      The relief granted in this Interim Order is intended solely to permit the

Debtors to protect, preserve, and maximize the value of their Tax Attributes; accordingly, other

than to the extent that this Interim Order expressly conditions or restricts trading in, or making

worthless stock deduction claims with respect to, the beneficial ownership of Common Stock

(including Options to acquire beneficial ownership of Common Stock), nothing in this Interim

Order or in the Motion shall, or shall be deemed to, prejudice, impair, or otherwise alter or affect

the rights of any holders of interests in the Debtors, including in connection with the treatment of

any such interests under the Debtors’ chapter 11 plan or any applicable bankruptcy court order.

               10.     Nothing contained in the Motion or this Interim Order or any payment made

pursuant to the authority granted by this Interim Order is intended to be or shall be deemed as

(i) an admission as to the validity of any claim against the Debtors, (ii) a waiver of the Debtors’ or

any party in interest’s rights to dispute the amount of, basis for, or validity of any claim, (iii) a

waiver of the Debtors’ or any party in interest’s rights under the Bankruptcy Code or any other

applicable nonbankruptcy law, (iv) an agreement or obligation to pay any claims, (v) a waiver of




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any claims or causes of action which may exist against any creditor or interest holder, (vi) an

admission as to the validity of any liens satisfied pursuant to this Motion, or (vii) an approval,

assumption, adoption, or rejection of any agreement, contract, lease, program, or policy under

section 365 of the Bankruptcy Code.

               11.     The requirements set forth in this Interim Order are in addition to the

requirements of Bankruptcy Rule 3001(e) and applicable securities, corporate and other laws and

do not excuse noncompliance therewith.

               12.     The requirements of Bankruptcy Rule 6003(b) have been satisfied.

               13.     This Interim Order is effective only from the date of entry through this

Court’s disposition of the Motion on a final basis; provided that the Court’s ultimate disposition

of the Motion on a final basis shall not impair or otherwise affect any reasonable action taken

pursuant to this Interim Order.

               14.     The Debtors are authorized to take all actions necessary or appropriate to

carry out the relief granted in this Interim Order.

               15.     This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Interim Order.

               16.     A final hearing to consider the relief requested in the Motion shall be held

on August 24, 2020 at 1:30 p.m. (Prevailing Central Time) and any objections or responses

to the Motion shall be filed on or prior to August 20, 2020 at 4:00 p.m. (Prevailing Central

Time).


 Signed: August
Dated:   October04,
                 17,2020
                     2018         , 2020
       Houston, Texas
                                                     ____________________________________
                                                                   Marvin IsgurJUDGE
                                               UNITED STATES BANKRUPTCY
                                                         United States Bankruptcy Judge



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                             Exhibit 1

                            Procedures
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                      §
In re:                                                §        Chapter 11
                                                      §
FIELDWOOD ENERGY LLC, et al.,                         §        Case No. 20-33948 (MI)
                                                      §
                   Debtors. 1                         §        (Jointly Administered)
                                                      §

                NOTICES, RESTRICTIONS, AND OTHER PROCEDURES
           REGARDING (A) OWNERSHIP AND TRANSFERS OF INTERESTS IN
           THE DEBTORS AND (B) CLAIMS OF CERTAIN WORTHLESS STOCK
                                 DEDUCTIONS

TO ALL PERSONS OR ENTITIES WITH EQUITY INTERESTS IN THE DEBTORS:

          Pursuant to that certain Interim Order Establishing Notification Procedures and Approving

Restrictions on (A) Certain Transfers of Interests in the Debtors and (B) Claims of Certain

Worthless Stock Deductions (the “Interim Order”) entered by the United States Bankruptcy Court

for the Southern District of Texas (the “Bankruptcy Court”) on ____________, 2020, Docket

No. ____, the following restrictions, notification requirements, and/or other procedures

(collectively, the “Procedures”) apply to all trading and transfers of the beneficial ownership of

Common Stock (including directly and indirectly, Options to acquire beneficial ownership of

Common Stock) and all claims of worthless stock deductions by a Majority Stockholder (as

defined below) with respect to its beneficial ownership of Common Stock.2



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
2
    Capitalized terms used, but not otherwise defined, herein shall have the same meanings ascribed to such terms in
    the Interim Order.
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A.      Common Stock Restrictions

(1)     Definitions. For purposes of these Procedures, the following terms have the following
        meanings:

        (a)     “Common Stock” shall mean any common stock issued by Fieldwood Energy
Inc.

        (b)      “Option” shall mean any contingent purchase, warrant, convertible debt, put, stock
subject to risk of forfeiture, contract to acquire stock, or similar interest regardless of whether it is
contingent or otherwise not currently exercisable.

        (c)     “Beneficial ownership” of Common Stock and Options to acquire Common Stock
shall be determined in accordance with section 382 of the title 26 of the United States Code (the
“Tax Code”), the regulations promulgated by the U.S. Department of Treasury under the Tax
Code (the “Treasury Regulations”), and rulings issued by the Internal Revenue Service (the
“IRS”), and the rules described herein, and thus, to the extent provided in those sources, from time
to time shall include, without limitation, (i) direct and indirect ownership, determined without
regard to any rule that treats stock of an entity as to which the constructive ownership rules apply
as no longer owned by that entity (e.g., a holding company would be considered to beneficially
own all stock owned or acquired by its subsidiaries), (ii) ownership by a holder’s family members,
(iii) ownership by any group of persons acting pursuant to a formal or informal understanding
among themselves to make a coordinated acquisition of stock, and (iv) to the extent set forth in
Treasury Regulations section 1.382-4, the ownership of an Option to acquire beneficial ownership
of Common Stock.

       (d)     “Majority Stockholder” shall mean (i) any person that beneficially owns at least
14,500,000 shares of Common Stock (representing approximately 47.5% of all issued and
outstanding shares of Common Stock) or (ii) any person that would be a “50-percent shareholder”
(within the meaning of section 382(g)(4)(D) of the Tax Code) of Common Stock if such person
claimed a Worthless Stock Deduction at any time on or after the Petition Date.

       (e)      “Entity” shall mean any “entity” as such term is defined in Treasury Regulations
section 1.382-3(a), including a group of persons who have a formal or informal understanding
among themselves to make a coordinated acquisition of stock.

         (f)    “Substantial Stockholder” shall mean any person or Entity that beneficially owns
at least 1,450,000 shares of Common Stock (representing approximately 4.75% of all issued and
outstanding shares of Common Stock).

        (g)     “Worthless Stock Deduction” shall mean any claim (for U.S. federal income tax
reporting purposes) of a worthless stock deduction under section 165(g) of the Tax Code with
respect to beneficial ownership of Common Stock.

(2)     Notice of Substantial Ownership. Any person or Entity that beneficially owns, at any time
        on or after the Petition Date, Common Stock in an amount sufficient to qualify such person
        or Entity as a Substantial Stockholder shall file with this Court and serve upon (i) the
        Debtors, 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042 (Attn:
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      Tommy Lamme); (ii) Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New
      York 10153 (Attn: Matthew S. Barr, Esq., Jessica Liou, Esq., Stuart J. Goldring, Esq. and
      Jonathan J. Macke, Esq.); (iii) Davis Polk & Wardwell LLP, 450 Lexington Avenue, New
      York, NY 10017 (Attn: Damian S. Schaible, Esq. and Natasha Tsiouris, Esq.); and (iv)
      counsel to any statutory committee of unsecured creditors appointed in these cases
      (a “Creditors’ Committee”) (collectively, the “Disclosure Parties”) a notice of such
      person’s or Entity’s substantial ownership (a “Substantial Stock Ownership Notice”), in
      substantially the form annexed to the Proposed Orders as Exhibit 2, which describes
      specifically and in detail such person’s or Entity’s beneficial ownership of Common Stock,
      on or before the date that is the later of (x) twenty (20) calendar days after the entry of the
      order granting the requested relief or (y) ten (10) business days after such person or Entity
      qualifies as a Substantial Stockholder. At the election of the Substantial Stockholder, the
      Substantial Stock Ownership Notice to be filed with this Court (but not the Substantial
      Stock Ownership Notice that is served upon the Disclosure Parties) may be redacted to
      exclude the Substantial Stockholder’s taxpayer identification number and the amount of
      Common Stock that the Substantial Stockholder beneficially owns.

(3)   Acquisition of Common Stock. At least twenty (20) business days prior to the proposed
      date of any transfer in the beneficial ownership of Common Stock (including directly or
      indirectly, and including, to the extent set forth in Treasury Regulations section 1.382-4,
      the grant or other acquisition of Options to acquire beneficial ownership of Common Stock)
      or exercise of any Option to acquire beneficial ownership of Common Stock that would
      result in an increase in the amount of Common Stock beneficially owned by any person or
      Entity that currently is or, as a result of the proposed transaction, would be a Substantial
      Stockholder (a “Proposed Acquisition Transaction”), such person or Entity (a
      “Proposed Transferee”) shall file with the Bankruptcy Court and serve upon the
      Disclosure Parties a notice of such Proposed Transferee’s intent to purchase, acquire, or
      otherwise accumulate beneficial ownership of Common Stock (an “Acquisition Notice”),
      in substantially the form annexed to the Interim Order as Exhibit 3, which describes
      specifically and in detail the Proposed Acquisition Transaction. At the election of the
      Substantial Stockholder, the Acquisition Notice to be filed with the Bankruptcy Court (but
      not the Acquisition Notice that is served upon the Disclosure Parties) may be redacted to
      exclude the Substantial Stockholder’s taxpayer identification number and the amount of
      Common Stock that the Substantial Stockholder beneficially owns.

(4)   Disposition of Common Stock. At least twenty (20) business days prior to the proposed
      date of any transfer or other disposition in the beneficial ownership of Common Stock
      (including directly and indirectly, and including, to the extent set forth in Treasury
      Regulations section 1.382-4, Options to acquire beneficial ownership of Common Stock)
      that would result in either a decrease in the amount of Common Stock beneficially owned
      by a Substantial Stockholder or a person or Entity ceasing to be a Substantial Stockholder
      (a “Proposed Disposition Transaction” and, together with a Proposed Acquisition
      Transaction, a “Proposed Transaction”), such person, Entity, or Substantial Stockholder
      (a “Proposed Transferor”) shall file with the Bankruptcy Court and serve upon the
      Disclosure Parties a notice of such Proposed Transferor’s intent to sell, trade, or otherwise
      transfer beneficial ownership of Common Stock (a “Disposition Notice” and, together with
      an Acquisition Notice, a “Trading Notice”), in substantially the form annexed to the

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      Interim Order as Exhibit 4, which describes specifically and in detail the Proposed
      Disposition Transaction. At the election of the Substantial Stockholder, the Disposition
      Notice to be filed with the Bankruptcy Court (but not the Disposition Notice that is served
      upon the Disclosure Parties) may be redacted to exclude the Substantial Stockholder’s
      taxpayer identification number and the amount of Common Stock that the Substantial
      Stockholder beneficially owns.

(5)   Notice of Status as a Majority Stockholder. Any person that currently is or becomes a
      Majority Stockholder shall file with the Bankruptcy Court and serve upon the Disclosure
      Parties a notice of such status (a “Majority Stockholder Notice”), in substantially the form
      annexed to the Interim Order as Exhibit 5, which describes specifically and in detail such
      person’s beneficial ownership of Common Stock, on or before the date that is the later of
      (x) twenty (20) calendar days after the entry of the order granting the requested relief or
      (y) ten (10) business days after such person qualifies as a Majority Stockholder. At the
      election of the Majority Stockholder, the Majority Stockholder Notice to be filed with the
      Bankruptcy Court (but not the Majority Stockholder Notice that is served upon the
      Disclosure Parties) may be redacted to exclude the Majority Stockholder’s taxpayer
      identification number.

(6)   Notice of Intent to Claim a Worthless Stock Deduction. At least twenty (20) business days
      before a Majority Stockholder files any federal income tax return, or any amendment to
      such a return, claiming a Worthless Stock Deduction for a tax year of the Majority
      Stockholder ending before the effective date of the Plan, such Majority Stockholder shall
      file with the Bankruptcy Court and serve upon the Disclosure Parties advanced written
      notice of the intended tax deduction (a “Worthless Stock Deduction Notice”), in
      substantially the form annexed to the Interim Order as Exhibit 6. At the election of the
      Majority Stockholder, the Worthless Stock Deduction Notice to be filed with the
      Bankruptcy Court (but not the Worthless Stock Deduction Notice that is served upon the
      Disclosure Parties) may be redacted to exclude the Majority Stockholder’s taxpayer
      identification number.

(7)   Objection Procedures. The Debtors shall have fifteen (15) business days after the filing of
      a Trading Notice or a Worthless Stock Deduction Notice (the “Objection Period”) to file
      with this Court and serve on a Proposed Transferee or a Proposed Transferor, as the case
      may be, or a Majority Stockholder, as applicable, an objection (each, an “Objection”) to
      any Proposed Transaction described in such Trading Notice or any Worthless Stock
      Deduction described in such Worthless Stock Deduction Notice. If the Debtors file an
      Objection by the expiration of the Objection Period (the “Objection Deadline”), then the
      applicable Proposed Transaction or Worthless Stock Deduction shall not be effective
      unless approved by a final and nonappealable order of this Court. If the Debtors do not file
      an Objection by the Objection Deadline or if the Debtors provide written authorization to
      the Proposed Transferee or the Proposed Transferor, as the case may be, or the Majority
      Stockholder, as applicable, approving the Proposed Transaction or the Worthless Stock
      Deduction prior to the Objection Deadline, then such Proposed Transaction or Worthless
      Stock Deduction may proceed solely as specifically described in the applicable Trading
      Notice or Worthless Stock Deduction Notice. To the extent that the Debtors receive a
      Trading Notice or Worthless Stock Deduction Notice and determine in their business

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         judgment not to object, they shall provide written notice (which may be by electronic mail)
         of that decision as soon as reasonably practicable to counsel to the Ad Hoc Group of
         Secured Lenders. Any further Proposed Transaction or Worthless Stock Deduction must
         be the subject of an additional Trading Notice or Worthless Stock Deduction Notice and
         Objection Period.

B.       Noncompliance with the Procedures

Any acquisition, disposition, or trading in the beneficial ownership of Common Stock (including
directly and indirectly, and Options to acquire beneficial ownership of Common Stock) in violation
of these Procedures shall be null and void ab initio as an act in violation of the automatic stay
under section 362 of the Bankruptcy Code and pursuant to the Bankruptcy Court’s equitable
powers under section 105(a) of the Bankruptcy Code. In the event that a Majority Stockholder
claims a Worthless Stock Deduction in violation of these Procedures, such holder shall be required
to file an amended federal income tax return revoking such deduction. Furthermore, any person
or Entity that acquires, disposes of, or trades, or claims a worthless stock deduction with respect
to, the beneficial ownership of Common Stock (including directly and indirectly, and Options to
acquire beneficial ownership of Common Stock) in violation of these Procedures shall be subject
to sanctions as provided by law.

C.       Debtors’ Right to Waive

The Debtors may, in their sole discretion, waive, in writing, any and all restrictions, stays, and
notification Procedures contained in this notice.



Dated:                          , 2020
         Houston, Texas

                                              UNITED STATES BANKRUPTCY JUDGE




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                              Exhibit 2

                Notice of Substantial Stock Ownership
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                        §
In re:                                                  §        Chapter 11
                                                        §
FIELDWOOD ENERGY LLC, et al.,                           §        Case No. 20-33948 (MI)
                                                        §
                    Debtors. 1                          §        (Jointly Administered)
                                                        §

                          NOTICE OF SUBSTANTIAL STOCK OWNERSHIP

        PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing
Notification Procedures and Approving Restrictions on (A) Certain Transfers of Interests in the
Debtors and (B) Claims of Certain Worthless Stock Deductions, dated [________], 2020, Docket
No. [__] (with all exhibits thereto, the “Interim Order”), [Name of Filer] (the “Filer”) hereby
provides notice that, as of the date hereof, the Filer beneficially owns (including directly and
indirectly):

                           (i)        __________ shares of Common Stock,2

                           (ii)  Options to acquire (directly or indirectly) __________ shares of
                           Common Stock,

         PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the
Filer is ______________.

       PLEASE TAKE FURTHER NOTICE that the following table sets forth the following
information:

For Common Stock and/or Options to acquire beneficial ownership of Common Stock that are
owned directly by the Filer, the table sets forth (a) the number of such shares and/or the number
of shares underlying Options beneficially owned by such Filer and (b) the date(s) on which such
shares and/or Options were acquired (categorized by class, as applicable).



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
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Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
2
    Capitalized terms used, but not defined, herein, and the term “beneficial ownership” (and derivatives thereof), shall
    have the meanings ascribed to them in Exhibit 1 to the Interim Order.
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In the case of Common Stock and/or Options to acquire beneficial ownership of Common Stock
that are not owned directly by the Filer but are nonetheless beneficially owned by the Filer, the
table sets forth (a) the name(s) of each record or legal owner of such shares of Common Stock
and/or Options to acquire beneficial ownership of Common Stock that are beneficially owned by
the Filer, (b) the number of shares of Common Stock and/or the number of shares of Common
Stock underlying Options beneficially owned by such Filer, and (c) the date(s) on which such
Common Stock and/or Options were acquired (categorized by class, as applicable).

       Class               Name of          Shares Owned       Shares Underlying      Date(s)
                            Owner                               Options Owned        Acquired
  Common Stock

                             (Attach additional pages if necessary.)

[[IF APPLICABLE:] The Filer is represented by [name of law firm], [address], [phone], (Attn:
[name of attorney]).]

                                            Respectfully submitted,


                                            [Name of Filer]

                                            By:
                                            Name:

                                            Address:


                                            Telephone:
                                            Facsimile:
                                            Date: _________________________




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                                 Exhibit 3

Notice of Intent to Purchase, Acquire, or Otherwise Accumulate Common Stock
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                        §
In re:                                                  §        Chapter 11
                                                        §
FIELDWOOD ENERGY LLC, et al.,                           §        Case No. 20-33948 (MI)
                                                        §
                   Debtors. 1                           §        (Jointly Administered)
                                                        §

                         NOTICE OF INTENT TO PURCHASE,
               ACQUIRE, OR OTHERWISE ACCUMULATE COMMON STOCK

        PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing
Notification Procedures and Approving Restrictions on (A) Certain Transfers of Interests in the
Debtors and (B) Claims of Certain Worthless Stock Deductions, dated [________], 2020, Docket
No. [__] (with all exhibits thereto, the “Interim Order”), [Name of Filer] (the “Filer”) hereby
provides notice of (i) its intention to purchase, acquire, or otherwise accumulate beneficial
ownership (including directly and indirectly) of one or more shares of Common Stock2 and/or
Options to acquire beneficial ownership of Common Stock and/or (ii) a proposed purchase or
acquisition of the beneficial ownership of Common Stock and/or Options to acquire beneficial
ownership of Common Stock that would result in an increase in the number of shares of Common
Stock and/or number of shares of Common Stock underlying Options that are beneficially owned
by the Filer (any proposed transaction described in clauses (i) or (ii), a “Proposed Transfer”).

       PLEASE TAKE FURTHER NOTICE that the following table sets forth the following
information:

1. If the Proposed Transfer involves the purchase or acquisition directly by the Filer of beneficial
ownership of Common Stock and/or Options to acquire beneficial ownership of Common Stock,
the table sets forth (a) the number of shares of Common Stock and/or the number of shares of
Common Stock underlying Options proposed to be purchased or acquired and (b) the date(s) of
such Proposed Transfer (categorized by class, as applicable).

2. If the Proposed Transfer involves the purchase or acquisition of the beneficial ownership of
Common Stock and/or Options to acquire beneficial ownership of Common Stock by a person or

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
2
    Capitalized terms used, but not defined herein, and the term “beneficial ownership” (and derivatives thereof), shall
    have the meanings ascribed to them in Exhibit 1 to the Interim Order.
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Entity other than the Filer, but the Proposed Transfer nonetheless would increase the number of
shares of Common Stock and/or number of shares of Common Stock underlying Options that are
beneficially owned by the Filer, the table sets forth (a) the name(s) of each such person or Entity
that proposes to purchase or acquire such shares of Common Stock and/or Options, (b) the number
of shares of Common Stock and/or number of shares of Common Stock underlying Options
proposed to be purchased or acquired (directly or indirectly), and (c) the date(s) of such Proposed
Transfer (categorized by class, as applicable).

       Class           Name of         Shares to be          Shares Underlying        Date(s) of
                      Purchaser        Purchased or            Options to be          Proposed
                         or              Acquired          Purchased or Acquired      Transfer
                      Acquirer
  Common Stock

                              (Attach additional page if necessary.)

        PLEASE TAKE FURTHER NOTICE that the following table summarizes the Filer’s
beneficial ownership of Common Stock and/or Options to acquire beneficial ownership of
Common Stock assuming that the Proposed Transfer is approved and consummated as described
above. The table sets forth, as of immediately following the consummation of the Proposed
Transfer, the number of shares of Common Stock and/or the number of shares of Common Stock
underlying Options (a) that would be owned directly by the Filer and, (b) in the case of any
beneficial ownership by the Filer of Common Stock and/or Options that would be owned by
another person or Entity as record or legal owner, the name(s) of each prospective record or legal
owner and the number of shares of Common Stock and/or the number of shares of Common Stock
underlying Options that would be owned by each such record or legal owner (categorized by class,
as applicable):

        Class                  Name of           Shares to Be Owned        Shares Underlying
                                Owner                                     Options to Be Owned
   Common Stock

                              (Attach additional page if necessary.)

       PLEASE TAKE FURTHER NOTICE that if the Proposed Transfer involves a purchase
or acquisition of beneficial ownership of Common Stock and/or Options to acquire beneficial
ownership of Common Stock directly by the Filer and such Proposed Transfer would result in (a)
an increase in the beneficial ownership of Common Stock and/or Options to acquire beneficial
ownership of Common Stock by a person or Entity (other than the Filer) that currently is a
Substantial Stockholder or (b) a person or Entity (other than the Filer) becoming a Substantial
Stockholder, the following table sets forth (i) the name of each such person or Entity, (ii) the
number of shares of Common Stock and/or the number of shares of Common Stock underlying
Options that are beneficially owned by such person or Entity currently (i.e., prior to the Proposed
Transfer), and (iii) the number of shares of Common Stock and/or the number of shares of
Common Stock underlying Options that would be beneficially owned by such person or Entity
immediately following the Proposed Transfer (categorized by class, as applicable).



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    Class        Name of     Shares Owned             Shares         Shares             Shares
                Beneficial   Currently (i.e.,     to Be Owned      Underlying         Underlying
                  Owner         Prior to            Following        Options         Options to Be
                               Proposed             Proposed         Owned              Owned
                               Transfer)             Transfer     Currently (i.e.,    Following
                                                                     Prior to          Proposed
                                                                    Proposed           Transfer
                                                                    Transfer)
  Common
   Stock

                              (Attach additional page if necessary.)

         PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the
Filer is ______________.

         PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer hereby
declares that it has examined this Notice and accompanying attachments (if any), and, to the best
of its knowledge and belief, this Notice and any attachments which purport to be part of this Notice
are true, correct, and complete.

[[IF APPLICABLE:] The Filer is represented by [name of law firm], [address], [phone], (Attn:
[name of attorney]).]

                                                Respectfully submitted,


                                                [Name of Filer]

                                                By:
                                                Name:

                                                Address:


                                                Telephone:
                                                Facsimile:


                                                Date: _____________________




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                                Exhibit 4

   Notice of Intent to Sell, Trade, or Otherwise Transfer Common Stock
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                        §
In re:                                                  §        Chapter 11
                                                        §
FIELDWOOD ENERGY LLC, et al.,                           §        Case No. 20-33948 (MI)
                                                        §
                    Debtors. 1                          §        (Jointly Administered)
                                                        §

                              NOTICE OF INTENT TO SELL, TRADE,
                           OR OTHERWISE TRANSFER COMMON STOCK

        PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing
Notification Procedures and Approving (A) Restrictions on Certain Transfers of Interests in the
Debtors and (B) Claims of Certain Worthless Stock Deductions, dated [________], 2020, Docket
No. [__] (with all exhibits thereto, the “Interim Order”), [Name of Filer] (the “Filer”) hereby
provides notice of (i) its intention to sell, trade, or otherwise transfer or dispose of beneficial
ownership (including directly and indirectly) of one or more shares of Common Stock2 and/or
Options to acquire beneficial ownership of Common Stock and/or (ii) a proposed sale, transfer, or
disposition of the beneficial ownership of Common Stock and/or Options to acquire beneficial
ownership of Common Stock that would result in a decrease in the number of shares of Common
Stock and/or number of shares of Common Stock underlying Options to acquire Common Stock
that are beneficially owned by the Filer (any proposed transaction described in clauses (i) or (ii), a
“Proposed Transfer”).

       PLEASE TAKE FURTHER NOTICE that the following table sets forth the following
information:

1. If the Proposed Transfer involves the sale, transfer, or disposition directly by the Filer of
beneficial ownership of Common Stock and/or Options to acquire beneficial ownership of
Common Stock, the table sets forth (a) the number of shares of Common Stock and/or the number
of shares of Common Stock underlying Options proposed to be sold, transferred, or disposed of
and (b) the date(s) of such Proposed Transfer (categorized by class, as applicable).



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
2
    Capitalized terms used, but not defined, herein, and the term “beneficial ownership” (and derivatives thereof), shall
    have the meanings ascribed to them in Exhibit 1 to the Interim Order.
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2. If the Proposed Transfer involves the sale, transfer or disposition of beneficial ownership of
Common Stock and/or Options to acquire beneficial ownership of Common Stock by a person or
Entity other than the Filer, but the Proposed Transfer nonetheless would decrease the number of
shares of Common Stock and/or number of shares of Common Stock underlying Options that are
beneficially owned by the Filer, the table sets forth (a) the name(s) of each such person or Entity
that proposes to sell, transfer, or dispose of such Common Stock and/or Options; (b) the number
of shares of Common Stock and/or number of shares of Common Stock underlying Options
proposed to be so sold, transferred, or disposed of (directly or indirectly); and (c) the date(s) of
such Proposed Transfer (categorized by class, as applicable).

     Class          Name of            Shares to Be Sold,       Shares Underlying       Date(s) of
                   Transferor           Transferred, or         Options to Be Sold,     Proposed
                                         Disposed Of             Transferred, or        Transfer
                                                                   Disposed Of
   Common
    Stock

                                (Attach additional page if necessary.)

        PLEASE TAKE FURTHER NOTICE that the following table summarizes the Filer’s
beneficial ownership of Common Stock and/or Options to acquire beneficial ownership of
Common Stock assuming that the Proposed Transfer is approved and consummated as described
above. The table sets forth, as of immediately following the consummation of the Proposed
Transfer, the number of shares of Common Stock and/or the number of shares of Common Stock
underlying Options (a) that would be owned directly by the Filer and, (b) in the case of any
beneficial ownership by the Filer of Common Stock and/or Options that would be owned by
another person or Entity as record or legal owner, the name(s) of each prospective record or legal
owner and the number of shares of Common Stock and/or the number of shares of Common Stock
underlying Options that would be owned by each such record or legal owner (categorized by class,
as applicable):

       Class             Name of             Shares to Be Owned          Shares Underlying Options
                         Owner                                                  to Be Owned
  Common Stock

                                (Attach additional page if necessary.)

        PLEASE TAKE FURTHER NOTICE that if the Proposed Transfer involves a sale,
transfer, or disposition of beneficial ownership of Common Stock and/or Options to acquire
beneficial ownership of Common Stock directly by the Filer and such Proposed Transfer would
result in (a) a decrease in the beneficial ownership of Common Stock and/or Options to acquire
beneficial ownership of Common Stock by a person or Entity (other than the Filer) that currently
is a Substantial Stockholder or (b) a person or Entity (other than the Filer) becoming a Substantial
Stockholder, the following table sets forth (i) the name of each such person or Entity, (ii) the
number of shares of Common Stock and/or the number of shares of Common Stock underlying
Options that are beneficially owned by such person or Entity currently (i.e., prior to the Proposed
Transfer), and (iii) the number of shares of Common Stock and/or the number of shares of


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Common Stock underlying Options that would be beneficially owned by such person or Entity
immediately following the Proposed Transfer (categorized by class, as applicable).

    Class        Name of        Shares      Shares to Be         Shares              Shares
                Beneficial     Owned           Owned          Underlying           Underlying
                 Owner        Currently      Following       Options Owned        Options to Be
                             (i.e., Prior    Proposed        Currently (i.e.,        Owned
                                   to         Transfer          Prior to           Following
                              Proposed                         Proposed             Proposed
                              Transfer)                        Transfer)            Transfer
  Common
   Stock

                              (Attach additional page if necessary.)

         PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the
Filer is ______________.

         PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer hereby
declares that it has examined this Notice and accompanying attachments (if any), and, to the best
of its knowledge and belief, this Notice and any attachments which purport to be part of this Notice
are true, correct, and complete.

[[IF APPLICABLE:] The Filer is represented by [name of law firm], [address], [phone], (Attn:
[name of attorney]).]

                                              Respectfully submitted,


                                              [Name of Filer]

                                              By:
                                              Name:

                                              Address:


                                              Telephone:
                                              Facsimile:


                                              Date: _____________________




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                               Exhibit 5

             Declaration of Status as a Majority Stockholder
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                        §
In re:                                                  §        Chapter 11
                                                        §
FIELDWOOD ENERGY LLC, et al.,                           §        Case No. 20-33948 (MI)
                                                        §
                    Debtors. 1                          §        (Jointly Administered)
                                                        §

                DECLARATION OF STATUS AS A MAJORITY STOCKHOLDER

        PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing
Notification Procedures and Approving (A) Restrictions on Certain Transfers of Interests in the
Debtors and (A) Claims of Certain Worthless Stock Deductions, dated [________], 2020, Docket
No. [__] (with all exhibits thereto, the “Interim Order”), [Name of Filer] (the “Filer”) hereby
provides notice that, as of the date hereof, the Filer is/has become a Majority Stockholder.2

      PLEASE TAKE FURTHER NOTICE that, as of _________, 2020, the Filer beneficially
owns ____ shares of and/or interests in Common Stock. The following table sets forth the date(s)
on which the Filer acquired such ownership or otherwise has beneficial ownership of such
Common Stock in an amount sufficient for the Filer to qualify as a Majority Stockholder:



                 Number of Shares of and/or Interests                     Date(s) Acquired
                         in Common Stock




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
2
    Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in Exhibit 1 to the Interim
    Order.
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                            (Attach additional pages if necessary.)

         PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the
Filer is ______________.

[[IF APPLICABLE:] The Filer is represented by [name of law firm], [address], [phone], (Attn:
[name of attorney]).]

                                           Respectfully submitted,


                                           [Name of Filer]

                                           By:
                                           Name:

                                           Address:


                                           Telephone:
                                           Facsimile:
                                           Date: _________________________




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                               Exhibit 6

       Declaration of Intent to Claim a Worthless Stock Deduction




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                        §
In re:                                                  §        Chapter 11
                                                        §
FIELDWOOD ENERGY LLC, et al.,                           §        Case No. 20-33948 (MI)
                                                        §
                    Debtors. 1                          §        (Jointly Administered)
                                                        §

     DECLARATION OF INTENT TO CLAIM A WORTHLESS STOCK DEDUCTION

        PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing
Notification Procedures and Approving Restrictions on (A) Certain Transfers of Interests in the
Debtors and (B) Claims of Certain Worthless Stock Deductions, dated [________], 2020, Docket
No. [__] (with all exhibits thereto, the “Interim Order”), [Name of Filer] (the “Filer”) hereby
provides notice of its intention to claim a Worthless Stock Deduction2 with respect to its beneficial
ownership of Common Stock (a “Proposed Deduction”).

         PLEASE TAKE FURTHER NOTICE that, if applicable, on ________ __, 2020, the
Filer filed a Declaration of Status as a Majority Stockholder with this Court.

        PLEASE TAKE FURTHER NOTICE that the Filer currently beneficially owns ___
shares and/or interests of Common Stock.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Deduction, the
Filer proposes to claim a Worthless Stock Deduction with respect to its beneficial ownership of
___ shares of and/or interests in Common Stock. If the Proposed Deduction is permitted to occur,
the Filer will be treated as having acquired ___ shares of and/or interests in Common Stock on the
first day of the Filer’s next taxable year and shall be treated as never having owned such Common
Stock during any prior year for the purposes of testing whether an Ownership Change has occurred.


         PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the
Filer is ______________.


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
2
    Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in Exhibit 1 to the Interim
    Order.
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        PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer hereby
declares that it has examined this Declaration and accompanying attachments (if any), and, to the
best of its knowledge and belief, this Declaration and any attachments which purport to be part of
this Declaration are true, correct, and complete.

[[IF APPLICABLE:] The Filer is represented by [name of law firm], [address], [phone], (Attn:
[name of attorney]).]

                                             Respectfully submitted,


                                             [Name of Filer]

                                             By:
                                             Name:

                                             Address:


                                             Telephone:
                                             Facsimile:


                                             Date: _____________________




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                              Exhibit 7

                       Notice of Interim Order




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ATTENTION DIRECT AND INDIRECT HOLDERS OF, AND PROSPECTIVE
HOLDERS OF STOCK ISSUED BY FIELDWOOD ENERGY INC. OR ITS AFFILIATED
COMPANIES:

Upon the motion (the “Motion”) of Fieldwood Energy LLC and its affiliated companies (the
“Debtors”), on [•], 2020, the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”), having jurisdiction over the chapter 11 cases of the Debtors, captioned
as In re Fieldwood Energy LLC, et al., Case No. 20-33948 (the “Chapter 11 Cases”), entered an
interim order establishing procedures (the “Procedures”) with respect to direct and indirect
transfers of common stock of Fieldwood Energy Inc. (“Common Stock”), including options to
acquire beneficial ownership of Common Stock, and certain claims of worthless stock deductions
and scheduling a hearing on a final order with respect to such Procedures.

In certain circumstances, the Procedures restrict (i) transactions involving, and require notices of
the holdings of and proposed transactions by, any person, group of persons, or entity that is or, as
a result of such a transaction, would become a Substantial Stockholder of Common Stock and (ii)
claims by any Majority Stockholder of a worthless stock deduction under section 165(g) of the
Internal Revenue Code of 1986, as amended, with respect to its beneficial ownership of Common
Stock. For purposes of the Procedures, a “Substantial Stockholder” is any person or entity
(including certain persons making a coordinated acquisition) that beneficially owns, directly or
indirectly (and/or owns options to acquire) at least 1,450,000 shares of Common Stock
(representing approximately 4.75% of all issued and outstanding shares of Common Stock), and a
“Majority Stockholder” is any person that beneficially owns at least 14,500,000 shares of
Common Stock (representing approximately 47.5% of all issued and outstanding shares of
Common Stock) or any person that would be a “50-percent shareholder” (within the meaning of
section 382(g)(4)(D) of the Internal Revenue Code of 1986, as amended) of Common Stock (as
defined in the Procedures) if such person claimed a worthless stock deduction with respect to such
securities. Any prohibited acquisition or other transfer of, or claim of a worthless stock
deduction with respect to, Common Stock (including options to acquire beneficial ownership of
Common Stock) will be null and void ab initio and may lead to contempt, compensatory
damages, punitive damages, or sanctions being imposed by the Bankruptcy Court.

The Procedures, as approved on an interim basis and as requested on a final basis, are available
on the website of Prime Clerk LLC, the Debtors’ Court-approved claims agent, located at
https://cases.primeclerk.com/fieldwoodenergy, and on the docket of the Chapter 11 Cases,
Docket No. _________ (__), which can be accessed via PACER at https://www.pacer.gov.

A direct or indirect holder of, or prospective holder of, Common Stock that may be or
become a Substantial Stockholder, a Majority Stockholder should consult the Procedures.

PLEASE TAKE NOTICE that the final hearing on the Motion shall be held on ____________,
2020, at _____ (Central Time), and any objections or responses to the Motion shall be in writing,
filed with the Court (with a copy delivered to Chambers), and served upon (i) Weil, Gotshal &
Manges LLP, 767 Fifth Avenue, New York, NY 10153 (Attn: Matthew S. Barr, Esq., Jessica Liou,
Esq., Stuart J. Goldring, Esq. and Jonathan J. Macke, Esq.), as proposed counsel to the Debtors,
and (ii) the Office of the United States Trustee for the Southern District of Texas, (Attn: [●]), in
each case so as to be received no later than 4:00 p.m. (Central Time) on ________, 2020.
         Case 20-33948
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       PLEASE TAKE FURTHER NOTICE that the requirements set forth in the Procedures
are in addition to the requirements of Bankruptcy Rule 3001(e) and applicable securities,
corporate, and other laws and do not excuse non-compliance therewith.


Dated:                                         BY ORDER OF THE COURT
            ____________, 2020




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